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                                                           EXHIBITB
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                         After The Dance
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